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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


LULAC TEXAS; VOTO LATINO; TEXAS                           Civil Action
ALLIANCE FOR RETIRED AMERICANS;
TEXAS AFT,
                                                          Case No. 1:21-CV-00786, consolidated
                       Plaintiffs,
                                                          with 5:21-CV-0844-XR
       v.

JOSE ESPARZA, in his official capacity as the             PLAINTIFFS’ OPPOSITION TO
Deputy Secretary of State and acting Secretary of         PUBLIC INTEREST LEGAL
State, KEN PAXTON, in his official capacity as the        FOUNDATION’S MOTION TO
Texas Attorney General; JACQUELYN                         INTERVENE
CALLANEN, in her official capacity as the Travis
County Clerk; ISABEL LONGORIA, in her official
capacity as the Harris County Elections
Administrator; YVONNE RAMON, in her official
capacity as the Hidalgo County elections
administrator; MICHAEL SCARPELLO, in his
official capacity as the Dallas County Elections
Administrator; LISA WISE, in her official capacity
as the El Paso County Elections Administrator,

                       Defendants.



TO THE HONORABLE XAVIER RODRIGUEZ

       Plaintiffs, by and through their undersigned counsel, file this response to the Motion to

Intervene filed by the Public Interest Legal Foundation (“PILF”) under Federal Rule of Civil

Procedure 24.

                                        INTRODUCTION

       PILF is an Indiana-based organization with no alleged ties to Texas, no alleged Texas-

based members, and no concrete interest affected by SB 1. Instead, it seeks intervention to defend

its general organizational interest in “election integrity.” PILF’s Mot. to Intervene (“Mot.”) 6, ECF


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No. 43. But the Fifth Circuit has made clear that an ideological interest in the outcome of a case is

insufficient to support intervention as of right under Rule 24(a)(2). After all, such a radical theory

of intervention would entitle PILF to intervene as a party in any lawsuit in the country that purports

to implicate “election integrity.”

       What’s more, intervention as of right is not allowed where the existing parties adequately

represent the would-be intervenor’s purported interest. Adequacy of representation is presumed

where the intervenor and existing parties share the same objective—and this presumption carries

even greater force when the State is actively defending a challenged law that a proposed intervenor

also seeks to defend. That is inarguably the case here: the Defendants in these consolidated cases

include Governor Greg Abbott, Attorney General Ken Paxton, and the Texas Secretary of State—

all of whom have made emphatically clear that they share PILF’s ultimate objective of defending

SB 1. PILF does not argue otherwise.

       The Court should also deny PILF’s request for permissive intervention under Rule 24(b).

While the decision to grant or deny permissive intervention is wholly discretionary, the Fifth

Circuit has held that courts should exercise their discretion to deny intervention where the

movant’s purported interest is already represented by other parties, and where intervention would

needlessly complicate proceedings and prejudice the existing parties. That is precisely the situation

here. Numerous existing defendants are defending SB 1 in this consolidated action that already

features nearly 40 unique litigants spread across five different lawsuits. PILF’s participation in this

litigation will result in increased expenditure of the parties’ and the court’s time and resources,




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which needlessly burdens the existing litigants and disserves the public’s interest in the timely and

efficient resolution of voting rights claims. The Court should deny the motion.

                                         BACKGROUND

       At issue in this lawsuit is Texas’s omnibus voter suppression bill, SB 1, which targets with

surgical precision the very measures that minority voters disproportionately relied on to increase

turnout in 2020 and other recent elections. Following an election in which Texas saw its highest

voter turnout in nearly 30 years, the Legislature enacted a series of sweeping voting restrictions

that create barriers to virtually every method of voting, from eliminating ballot drop boxes and

drive-thru voting to criminalizing efforts by public officials to encourage citizens to submit

absentee ballot applications. Compl. ¶¶ 7–10, LULAC v. Esparza, No. 1:21-cv-00786 (W.D. Tex.

Sept. 7, 2021), ECF No. 1.

       On September 7, 2021, Plaintiffs LULAC Texas, Voto Latino, Texas Alliance for Retired

Americans, and Texas AFT (collectively, the “LULAC Plaintiffs”) brought this challenge to SB 1

against Attorney General Ken Paxton, Deputy Secretary of State Jose Esparza, and county election

officials. Plaintiffs allege that SB 1 violates Section 2 of the Voting Rights Act (Count I); places

an undue burden on the right to vote in violation of the First and Fourteenth Amendments (Count

II); restricts free speech and expression in violation of the First Amendment (Count III); and

violates Section 208 of the Voting Rights Act (Count IV). Id. ¶¶ 243–83. This Court subsequently

consolidated the case with four other lawsuits challenging SB 1: OCA-Greater Houston v. Esparza,

No. 1:21-cv-780 (W.D. Tex.); Houston Justice v. Abbott, No. 5:21-cv-848 (W.D. Tex.); La Union

del Pueblo Entero v. Abbott, No. 5:21-cv-844 (W.D. Tex.); and Mi Familia Vota v. Abbott, No.

5:21-cv-920. See Order Granting Defs.’ Mot. to Consolidate 2, ECF No. 31.




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        PILF—an Indiana-based organization1 with no members in Texas and no apparent ties to

the state—moved to intervene on October 7. The organization describes itself as “a nonprofit

organization dedicated to election integrity,” but identifies no direct interest in this lawsuit beyond

a generalized desire to ensure a certain outcome. PILF nonetheless asserts an unqualified right to

intervene as a party in this litigation based on its purported organizational mission to “assist states

and others to aid the cause of election integrity and fight against lawlessness in American

elections.” Id.

                                       LEGAL STANDARD

       Intervention as of right under Federal Rule of Civil Procedure 24(a)(2) is permitted when

(1) the motion is timely; (2) the putative intervenor asserts an interest that is related to the property

or transaction that forms the basis of the controversy in the case; (3) the disposition of the case

will impair the putative intervenor’s ability to protect that interest; and (4) the existing parties do

not adequately protect that interest. See Saldano v. Roach, 363 F.3d 545, 551 (5th Cir. 2004).

“Failure to satisfy any one requirement precludes intervention as of right.” Haspel & Davis Milling

& Planting Co. v. Bd. Of Levee Commr’s, 493 F.3d 570, 578 (5th Cir. 2007).

       Permissive intervention under Rule 24(b) is allowed at the Court’s discretion “when

(1) timely application is made by the intervenor; (2) the intervenor’s claim or defense and the main

action have a question of law or fact in common; and (3) intervention will not unduly delay or

prejudice the adjudication of the rights of the original parties.” LULAC, Council No. 4434 v.

Clements, 884 F.2d 185, 189 n.2 (5th Cir. 1989). “Permissive intervention is at the discretion of

the court even if the potential intervenor satisfies the requirements of Rule 24(b).” Walker v. Alta

Colls, Inc., No. A-09-CA-894-LY, 2011 WL 13269547, at *2 (W.D. Tex. Aug. 10, 2011).


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        See Contact, PILF, www.publicinterestlegal.org/contact (last visited Oct. 14, 2021).
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                                           ARGUMENT

I.     PILF is not entitled to intervene as of right.

       A.      PILF has not identified an interest sufficient to support intervention as of
               right.

       An organization cannot intervene as of right if it has “only an ideological interest in the

litigation, and the lawsuit does not involve the regulation of [the organization’s] conduct in any

respect.” Texas v. United States, 805 F.3d 653, 657 (5th Cir. 2015) (quoting Northland Family

Planning Clinic, Inc. v. Cox, 487 F.3d 323, 343 (6th Cir. 2007)). Only interests that are “concrete,

personalized, and legally protectable” are sufficient to support intervention as of right, and the

interest must be “one which the substantive law recognizes as belonging to or being owned by the

applicant.” Id. This inquiry “turns on whether the intervenor has a stake in the matter that goes

beyond a generalized preference that the case come out a certain way.” Id.

       Offering little more than a “strong interest[] in defending state election laws” and legal

theories it wishes to advance, Mot. 6, PILF makes no attempt to identify the types of “concrete,

personalized, and legally protectable” interests that satisfy Rule 24(a). Nor could it, because this

litigation will have no meaningful effect on PILF—an Indiana organization that has neither alleged

nor substantiated any activity or expenditure of resources in Texas that could be affected by SB 1.

The organization incorrectly assumes instead that its ideological interest in the outcome of this

lawsuit or in advancing certain arguments will suffice for intervention, even stating at one point

that the lawsuit affects “the Foundation’s stated mission of preserving the constitutional balance

between a state’s power to control its own elections and Congress’s limited constitutional authority to

protect against racial discrimination through the VRA.” Id. at 7. But it is well settled that “an

intervenor fails to show a sufficient interest when he seeks to intervene solely for ideological,

economic, or precedential reasons; that would-be intervenor merely prefers one outcome to the

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other.” Texas, 805 F.3d at 657; cf. id. at 661 (holding that three undocumented immigrants could

intervene as of right in lawsuit challenging federal immigration regulation because they “are not

individuals seeking to defend a governmental policy they support on ideological grounds; rather,

they are the intended beneficiaries of the program being challenged”). PILF’s sweeping theory of

intervention would allow it to participate as a party—as of right—in any federal lawsuit

implicating “election integrity,” rendering the Rule 24(a) requirements meaningless.

       As a last resort, PILF cites Brumfield v. Dodd for the proposition that the interest

requirement is “more lenient” if the movant is a public interest organization. Mot. 6. (quoting

Brumfield v. Dodd, 749 F.3d 339, 344 (5th Cir. 2014)). That is not the law. Rather, Brumfield

reiterated the requirement that “a movant’s interest must be direct, substantial, and legally

protectable” and added that “if the case involves a public interest question or is brought by a public

interest group,” one consideration bearing on that inquiry is whether the proposed intervenor’s

purported interest falls within the zone of interests protected by a constitutional provision or statute

at issue in the case. See Brumfield, 749 F.3d at 343, 344 (“The zone of interests protected by a

constitutional provision or statute of general application is arguably broader than are the

protectable interests recognized in other contexts. Our en banc court has explained that a zone-of-

interest analysis in standing doctrine can bear on the interest question for purposes of

intervention.”) (quoting New Orleans Pub. Serv., Inc. v. United Gas Pipe Line Co., 732 F.2d 452,

465 (5th Cir. 1984)). PILF’s desire to limit the scope of the Voting Rights Act is not an interest

protected by any of the provisions at issue in this case; and Brumfield did not endorse intervention

as a vehicle to resolve the types of purely ideological disputes that PILF has raised.

       Nor does Brumfield suggest that a movant lacking a concrete stake in the litigation is

entitled to intervene simply because it is a public interest group. Brumfield allowed the parents of


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Louisiana children with school vouchers to intervene in a dispute between Louisiana and the

federal government over the state’s voucher program. 749 F.3d at 340-42. The Fifth Circuit

concluded that the parents had a concrete interest sufficient to support intervention because the

requested relief would ensure that “some students who otherwise would get vouchers might not

get them or might not get to select a particular school they would otherwise choose.” Id. at 344.

And it added that a zone-of-interests analysis supported that conclusion because “[i]f any group

can be described as within the zone of interest protected by [the equal protection] clause, surely it

is these mostly minority parents who believe that the best way to ensure equal protection of the

laws is to give them the opportunity . . . to send their children to better schools.” Id.

       In unmistakable contrast to the Brumfield intervenors, PILF has failed to identify any

“direct, substantial, and legally protectable” interest at stake in this litigation. PILF has also not

even attempted to make a zone-of-interests argument in support of intervention and cannot do so

now. See Mission Toxicology, LLC v. Unitedhealthcare Ins. Co., 499 F. Supp. 3d 350, 359 (W.D.

Tex. 2020) (“Arguments raised for the first time in a reply brief are generally waived.”) (quoting

Jones v. Cain, 600 F.3d 527, 541 (5th Cir. 2010)). PILF’s insistence that it is entitled to “more

lenient” scrutiny solely because of its status as “a nonprofit organization dedicated to election

integrity,” Mot. 6, has no support in Brumfield and is contrary to the Fifth Circuit’s subsequent

holding that a viable motion to intervene cannot rest on “only an ideological interest in the

litigation.” Texas, 805 F.3d at 657.

       The other cases that PILF cites, purportedly to show courts granting motions to intervene

filed by public interest organizations, see Mot. 3–4, further undermine its argument and again

demonstrate why intervention as of right is inappropriate here. In Luna v. Cegavske, No. 2:17-CV-

2666 JCM (GWF), 2017 WL 6512182 (D. Nev. Dec. 20, 2017), in which PILF sought to intervene


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in a challenge to Nevada’s recall law, the court squarely rejected the same sweeping theory of

intervention that PILF advances here:

       By virtue of its mission statement, the Foundation appears to have a specific interest
       in supporting more stringent state regulation of elections and voter qualifications,
       and in limiting the scope of the Voting Rights Act, including having portions of the
       Act declared unconstitutional on their face or as applied. This interest does not fit
       squarely within past Ninth Circuit decisions regarding intervention as of right [,
       which have held] that public interest organizations have a significant protectable
       interest based on their prior involvement in the enactment of the law, regulation or
       administrative action that is at issue in the lawsuit. Such is not the case here. Nor
       has the Foundation shown that any of its members are voters in the senate districts
       involved in the subject recall efforts, or that it has Nevada citizen-members whose
       rights could be affected by future efforts to preclude or restrict recall elections.

No. 2:17-CV-2666 JCM (GWF), 2017 WL 6512182, at *6 (D. Nev. Dec. 20, 2017), report &

recommendation adopted, No. 2:17-CV-2666, 2018 WL 3731084 (D. Nev. Aug. 6, 2018). The

Luna court therefore denied intervention as of right under Rule 24(a)(2). See id.2 Here, as in Luna,

PILF’s proffered interest is insufficient to support mandatory intervention under Rule 24(a)(2).

       PILF also improperly relies on Kobach v. U.S. Election Assistance Commission, No. 13-

cv-4095-EFM-DJW, 2013 WL 6511874 (D. Kan. Dec. 12, 2013), and League of Women Voters of

U.S. v. Newby, 195 F. Supp. 3d 80, 88 (D.D.C. 2020). See Mot. 3–4. Neither case involved

intervention as of right under Rule 24(a)(2). Moreover, Newby and Kobach are inapposite for other

reasons. PILF’s motion to intervene in Newby was unopposed, in stark contrast to its motion here.

See infra p. 11 (discussing Newby). And while PILF cites Kobach as an example of a case “granting

the Foundation’s motion to intervene as defendants in an action brought by several nonprofit


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        The magistrate judge in that case granted permissive intervention solely to allow PILF to
brief certain constitutional questions that had not yet been raised by the defendants. See Luna,
2017 WL 6512182, at *6. But that does not support intervention here because permissive
intervention is always discretionary even when the requirements of Rule 24(b)(B) are satisfied,
and the sprawling nature of this consolidated litigation compared to Luna counsels against adding
additional parties to this lawsuit simply to brief an issue when an amicus brief could achieve the
same objective in a far less intrusive fashion. See infra pp. 12-13.
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groups, including the League of United Latin American Citizens Arizona,” Mot. 3, the Kobach

court did not allow PILF to intervene in that case, either permissively or as of right. PILF was not

involved in that case at all. See Kobach, 2013 WL 6511874, at *1–2.

       B.       PILF’s purported interest is adequately represented by the existing parties.

       Even if PILF’s desire to defend SB 1 or limit enforcement of the Voting Rights Act was

sufficient to satisfy Rule 24(a), its motion would still fail because that interest is adequately

represented by the existing parties in this litigation. See Fed. R. Civ. P. 24(a)(2) (requiring movant

to show that “existing parties do not adequately represent [its] interest”). Adequate representation

is presumed “when the would-be intervenor has the same ultimate objective as a party to the

lawsuit,” and “the applicant for intervention must show adversity of interest, collusion, or

nonfeasance on the part of the existing party to overcome the presumption.” Texas, 805 F.3d at

661 (citing Edwards v. City of Houston, 78 F.3d 983, 1005 (5th Cir. 1996)).

       PILF addresses this presumption only in passing and it is easy to see why: Governor

Abbott,3 Attorney General Paxton, and the Secretary of State are all Defendants in this

consolidated action and purportedly share PILF’s stated objective of preserving “election

integrity” and defending “Texas’s prerogative to run its own elections in this context.” Mot. 3.4


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      Governor Abbott is not a defendant in the LULAC Plaintiffs’ action but was named as a
Defendant in three other suits in this consolidated litigation.
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       See, e.g., Press Release, Governor Abbott Statement on Passage of Election Integrity
Legislation, Office of Tex. Governor (Aug. 31, 2021), https://gov.texas.gov/news/post/governor-
abbott-statement-on-passage-of-election-integrity-legislation (“Senate Bill 1 will solidify trust and
confidence in the outcome of our elections by making it easier to vote and harder to cheat. I look
forward to signing Senate Bill 1 into law, ensuring election integrity in Texas.”); Press Release,
AG Paxton Announces Final Victory for Texas in Voter ID Case, Att’y Gen. of Tex. (Sept. 17,
2018), https://www.texasattorneygeneral.gov/news/releases/ag-paxton-announces-final-victory-
texas-voter-id-case (“Safeguarding the integrity of our elections is a primary function of state
government and is essential to preserving our democratic process.”); Press Release, Texas
Secretary of State’s Office Announces Full Forensic Audit of 2020 General Election in Four Texas

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PILF does not argue otherwise, even though it bears “the burden of demonstrating inadequate

representation.” Brumfield, 749 F.3d at 345. Nor does it assert adverse interests, collusion, or

nonfeasance by these Defendants as is necessary to overcome the presumption. Texas, 805 F.3d at

661. By entirely failing to address whether these Defendants are adequately representing its

interest in election integrity, PILF has failed to meet its burden and cannot intervene as of right for

this reason alone. See Haspel & Davis, 493 F.3d at 578.

       The arguments that PILF does advance in support of this factor are unavailing. PILF asserts

in conclusory and speculative fashion that “Defendants may feel restrained from asserting certain

defenses—such as the unconstitutionality of Section 2 as applied in these circumstances.” Mot. 8–

9. But PILF cites no case for the proposition that its desire to present additional legal arguments

in a brief entitles it to participate as a party in this litigation under Rule 24(a). On the contrary,

intervention is inappropriate when the movant “has vested its claim for intervention entirely upon

a disagreement over litigation strategy or legal tactics.” In re Toyota Hybrid Brake Litig., No. 4:20-

CV-127, 2020 WL 6161495, at *19 (E.D. Tex. Oct. 21, 2020) (quoting LULAC v. Wilson, 131

F.3d 1297, 1306 (9th Cir. 1997)). Nor does PILF explain how its desire to brief these arguments

could not be satisfied by moving for leave to file an amicus brief, along with any other person or

entity that has a nonconcrete interest in the outcome of this litigation.

       The authority on which PILF relies, moreover, only underscores the adequacy of

representation here for purposes of intervention. See Mot. 4 (citing Newby, 195 F. Supp. 3d at 88).

While Newby is indeed an example of a court granting intervenor status to PILF, that case is easily

distinguishable because PILF did not share the same ultimate objective as the defendants in that



Counties, Tex. Sec’y of State (Sept. 23, 2021), https://www.sos.texas.gov/about/newsreleases/
2021/092321.shtml.
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case. Newby involved a dispute over a federal voter registration form that states must use to register

voters by mail for federal elections. 195 F. Supp. 3d at 83. Various plaintiffs sued the federal

Election Assistance Commission (“EAC”) over its decision to grant a request by the State of

Kansas to modify that form to include state-specific instructions reflecting Kansas’s proof-of-

citizenship requirement. Id.

       Rather than defend the changes to the federal form, the EAC agreed that the forms were

unlawful and consented to a preliminary injunction. See Defs.’ Opp. to Pls.’ Mot. for a Prelim. Inj.

at 1, Newby, No. 1:16-cv-236 (D.D.C. Feb. 22, 2016), ECF No. 28 (“Because the National Voter

Registration Act permits only information satisfying this ‘necessity’ requirement to be included

on the Federal Form, the Executive Director’s decisions are not consistent with the statute . . . The

United States requests that the decisions be enjoined on this narrow ground.”). The district court

then granted unopposed motions to intervene from PILF and Kansas Secretary of State Kris

Kobach to ensure that there would be parties to the litigation who would defend the proof-of-

citizenship change and contest the plaintiffs’ request for a preliminary injunction. See Newby, 195

F. Supp. 3d at 88 (“Astonishingly, instead of submitting an opposition, defendants submitted their

written consent to the entry of a preliminary injunction! Thereafter, I granted Secretary of Kansas

Kris Kobach and the Public Interest Legal Foundation’s motions to intervene as defendants and

permitted them to appear at the [preliminary injunction] hearing.”). Here, by contrast, even PILF

does not doubt that Defendants will defend the law, which is all the more reason its intervention

is unwarranted.

II.    PILF should not be granted permissive intervention.

       PILF moves in the alternative for permissive intervention under Federal Rule of Civil

Procedure 24(b), but that request should also be denied. “Permissive intervention is at the


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discretion of the court even if the potential intervenor satisfies the requirements of Rule 24(b).”

Walker v. Alta Colleges, Inc., No. A-09-CA-894-LY, 2011 WL 13269547, at *2 (W.D. Tex. Aug.

10, 2011) (citing Kneeland v. Nat’l Collegiate Athletic Ass’n, 806 F.2d 1285, 1289 (5th Cir. 1987)).

In determining whether to exercise this discretion, “the district court may consider, among other

factors, whether the intervenors’ interests are adequately represented by other parties, and whether

intervention will unduly delay the proceedings or prejudice existing parties.” Kneeland, 806 F.2d

at 1289.

       As discussed in detail above, PILF has failed to show that the current Defendants in this

consolidated litigation, who include Governor Abbott, Attorney General Paxton, and the Secretary

of State, will not adequately represent PILF’s purported interest in defending Texas’s election

laws. Because PILF shares the same objective as these defendants—defending SB 1 and Texas’s

ability to enact laws purportedly “designed to ensure the integrity of their elections,” Mot. 3—

there is a presumption of adequate representation that PILF has barely attempted to overcome in

its motion. See supra pp. 9-10. That alone counsels against permissive intervention.

       Worse, PILF’s participation will needlessly prejudice the existing parties. With the

crowding of additional parties in this coordinated proceeding, litigation becomes more complex,

expensive, and time consuming at every step. Briefing schedules become more complicated, the

number of pages that the parties and the Court must contend with in filings become multiplied,

discovery becomes more burdensome, scheduling becomes more difficult, and negotiating even

basic stipulations becomes more cumbersome. See, e.g., Walker, 2011 WL 13269547, at *2. These

concerns are amplified in a consolidation action like this one that already spans 40 unique parties

across five different actions. Moreover, PILF does not appear to be interested in the issues

presented; rather, they seem keen to use these lawsuits as a vehicle to challenge the


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constitutionality of Section 2 of the Voting Rights Act—an apparent attempt to derail these

proceedings and divert the resources of counsel and the Court. In sum, PILF’s desire to brief certain

legal issues cannot justify its participation as a defendant.

                                          CONCLUSION

       For these reasons, the Court should deny PILF’s motion to intervene.




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Dated: October 21, 2021.              Respectfully submitted,

                                      /s/ Uzoma N. Nkwonta
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                            CERTIFICATE OF COMPLIANCE

       Pursuant to Local Rule CV-7(D)(3), counsel for Plaintiffs certify that this opposition brief

does not exceed 20 pages, exclusive of the caption, the signature block, any certificate, and any

accompanying documents.

                                                  /s/ Uzoma N. Nkwonta




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